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8    Attorneys for the United States
9                             UNITED STATES DISTRICT COURT
10                          SOUTHERN DISTRICT OF CALIFORNIA
11    UNITED STATES OF AMERICA                          Case No. 13CR3781-JLS
12                        Plaintiff,                    NOTICE OF APPEARANCE
13          v.
14    LEONARD GLENN FRANCIS et al.,
15                        Defendants.
16
17   TO THE CLERK OF COURT AND ALL PARTIES OF RECORD:
18         I, the undersigned attorney, enter my appearance as lead counsel for the
19   United States in the above-captioned case. I certify that I am admitted to practice in this
20   court or authorized to practice under CivLR 83.3.c.3-4.
21         The following government attorneys (who are admitted to practice in this court or
22   authorized to practice under CivLR 83.3.c.3-4) are also associated with this case, should
23   be listed as lead counsel for CM/ECF purposes, and should receive all Notices of
24   Electronic Filings relating to activity in this case:
25                Name
26                MARK W. PLETCHER
27                LUELLA M. CALDITO
28
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1          Effective this date, the following attorneys are no longer associated with this case
2    and should not receive any further Notices of Electronic Filings relating to activity in
3    this case (if the generic “U.S. Attorney CR” is still listed as active in this case in
4    CM/ECF, please terminate this association):
5                Name
6                DAVID CHU
7          Please feel free to call me if you have any questions about this notice.
8          DATED: December 20, 2023.
                                                   TARA K. McGRATH
9
                                                   United States Attorney
10
                                                   s/ Michelle L. Wasserman
11
                                                   MICHELLE L. WASSERMAN
12                                                 Assistant U.S. Attorney
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